Case 16-32006               Doc 188       Filed 10/26/17 Entered 10/26/17 08:05:37        Desc Main
                                            Document Page 1 of 6
     FILED & JUDGMENT ENTERED
               Steven T. Salata




          October 26 2017


      Clerk, U.S. Bankruptcy Court
     Western District of North Carolina
                                                                          _____________________________
                                                                                   J. Craig Whitley
                                                                            United States Bankruptcy Judge




                   UNITED STATES BANKRUPTCY COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               Charlotte Division
 In re:                                 )
                                        )      Case No. 16-32006
 Madison Construction Group, Inc.       )      Chapter 11
                    Debtor.             )
 	
                                   ORDER

            This matter is before the Court on the motion to dismiss or convert filed by the

 Bankruptcy Administrator and joined by the Internal Revenue Service and creditor Shiel

 Sexton Company, Inc. (together, the movants). For the reasons stated on the record and

 as further articulated below, debtor is ordered to file a plan and disclosure statement on or

 before December 31, 2017. The Bankruptcy Administrator’s motion is continued to

 January 9, 2018.

            Debtor is a full service subcontractor that offers turnkey packages for

 carpentry, millwork, doors, hardware, and specialty installations. Debtor employs twenty

 three individuals and has projects in North Carolina, South Carolina, and Tennessee.

 According to debtor, in the years preceding the bankruptcy, it had become entangled in

 several costly lawsuits. Although it was performing well, debtor was unable to support

 its ongoing operational cash flow needs, to fund the legal costs associated with the

 lawsuits, and to satisfy the claims asserted against it in litigation.



 	                                                    1
Case 16-32006      Doc 188      Filed 10/26/17 Entered 10/26/17 08:05:37               Desc Main
                                  Document Page 2 of 6


         This bankruptcy was filed on December 15, 2016. In the ten months since, debtor

 has actively sought to resolve many of the claims asserted in this case; however, it has

 not filed a plan or disclosure statement.

         On September 21, 2017, the Bankruptcy Administrator moved to dismiss or

 convert the case asserting cause exists under 11 U.S.C. § 1112(b)(4)(E), (F), (J), and (K),

 namely: (1) debtor violated the Chapter 11 Operating Order [Doc. 12], which requires the

 debtor to “file a plan of reorganization and disclosure statement within the Exclusive

 Period set forth in the Bankruptcy Code”1; (2) debtor was late in filing its monthly status

 reports; (3) debtor was delinquent in filing post-petition tax returns and depositing post-

 petition tax payments; (4) by the date of the hearing, debtor had incurred upward of

 $5000 in bank overdraft charges; and (5) debtor was delinquent in paying quarterly fees.

 In addition to these arguments, Shiel Sexton contends that debtor’s monthly status reports

 materially misstate debtor’s financial condition due to accounting inconsistencies and that

 debtor is accruing substantial administrative expenses without any source of payment.

         Pursuant to 11 U.S.C. § 1112(b), upon a showing of “cause,” a court “shall

 convert a case under this chapter to a case under chapter 7 or dismiss a case under this

 chapter, whichever is in the best interests of creditors and the estate.” The Code provides

 an extensive list of circumstances constituting “cause.” 11 U.S.C. § 1112(b)(4).

 Relevant to the matter at hand, these include “failure to comply with an order of the

 court,” “unexcused failure to satisfy timely any filing or reporting requirement

 established by this title or by any rule applicable to a case under this chapter,” “failure to

 file a disclosure statement, or to file or confirm a plan, within the time fixed by this title

 																																																								
 1
    While debtor previously obtained an extension of the exclusivity period, the extended
 period lapsed in September 2017.

 	                                              2
Case 16-32006      Doc 188     Filed 10/26/17 Entered 10/26/17 08:05:37              Desc Main
                                 Document Page 3 of 6


 or by order of the court,” and “failure to pay any fees or charges required under chapter

 123 of title 28.” 11 U.S.C. § 1112(b)(4)(E), (F), (J), and (K). The movant bears the

 initial burden of demonstrating that cause exists to convert or to dismiss the case. In re

 Pittsfield Weaving Co., 393 B.R. 271, 274 (Bankr. D.N.H. 2008).

        Even upon a finding of cause,2 a court may not dismiss or convert a case:

            if the court finds and specifically identifies unusual circumstances
            establishing that converting or dismissing the case is not in the best
            interests of creditors and the estate, and the debtor or any other
            party in interest establishes that—

                (A) there is a reasonable likelihood that a plan will be
                confirmed within . . . a reasonable period of time; and

                (B) the grounds for converting or dismissing the case include
                an act or omission of the debtor . . .

                        (i) for which there exists a reasonable justification for
                        the act or omission; and

                        (ii) that will be cured within a reasonable period of time
                        fixed by the court.

 11 U.S.C. § 1112(b)(2).

        At the hearing on this matter, none of the movants presented evidence in support

 of conversion or dismissal. Instead, they relied on argument and on the monthly status

 reports filed on the Court’s docket. The debtor presented evidence in response to the

 motion through the testimony of its president, Christopher Mezzanotte.

        Mezzanotte testified that many of the issues raised by the Bankruptcy

 Administrator had been resolved. All the post-petition taxes and quarterly fees have now

 been paid; the monthly reports are up to date. Additionally, Mezzanotte explained the

 																																																								
 2
    This subsection does not apply if the cause for converting or dismissal is under 11
 U.S.C. § 1112(b)(4)(A) for a “substantial or continuing loss to or diminution of the estate
 and the absence of a reasonable likelihood of rehabilitation.” 11 U.S.C. § 1112(b)(2)(B).

 	                                             3
Case 16-32006     Doc 188      Filed 10/26/17 Entered 10/26/17 08:05:37             Desc Main
                                 Document Page 4 of 6


 steps and procedures the company had implemented to ensure the duties of a Chapter 11

 debtor were fulfilled in the future. As far as the prospect of plan confirmation, according

 to Mezzanotte, negotiations with several potential investors are ongoing and should be

 concluded by the end of the year. Such an equity infusion would greatly aid the debtor in

 its efforts to successfully emerge from Chapter 11.

        Debtor’s primary secured creditor, First National Bank (formerly Yadkin Bank),

 appeared and opposed conversion or dismissal. None of debtors’ other creditors,

 including its critical vendors, appeared in support of conversion or dismissal.

        Having considered the evidence and arguments, the Bankruptcy Administrator’s

 motion cannot be granted at this time:

            1. None of the movants presented evidence or satisfied their burden of

                showing cause for dismissal or conversion.

            2. Even if cause existed, this case presents “unusual circumstances” as

                described by 11 U.S.C. § 1112(b)(2). Debtor is a commercial

                subcontractor, construction is currently booming in this judicial district,

                and the payment cycles of the construction business inevitably leads to

                peaks and valleys in a subcontractor’s cash flow.

            3. Keeping this case in Chapter 11 is in the best interest of the bankruptcy

                estate. If converted to Chapter 7, the vast majority of receivables owed

                would be uncollectable due to the nature of the construction business. The

                rough estimates given at hearing concerning debtor’s assets indicate there

                would be next to no distributions beyond secured creditors. If dismissed,




 	                                            4
Case 16-32006      Doc 188     Filed 10/26/17 Entered 10/26/17 08:05:37              Desc Main
                                 Document Page 5 of 6


                creditors would inevitably be left in a race to state court to pick over

                whatever is left of the company’s assets.

            4. None of the movants will be harmed by this case remaining in Chapter 11,

                at least in the short run. The fees and reports requested by the Bankruptcy

                Administrator have been brought up to date, and post-petition taxes have

                been paid. Likewise, Shiel Sexton hasn’t put forth any evidence showing

                that its interests are being harmed. In fact, by the end of this case, it may

                well be proven that Shiel Sexton actually owes the debtor money.

            5. All the causes for conversion or dismissal cited by the movants have been

                rectified with the exception of the alleged violation of the Chapter 11

                Operating Order for having failed to file a plan and disclosure statement

                within the exclusivity period.

        In fairness to the Bankruptcy Administrator, the Court’s standard operating order

 entered in this case indeed states that a debtor must file a plan and disclosure statement

 within the exclusivity period. The Operating Order and that language was originally

 prepared by the Bankruptcy Administrator many years ago and before the current

 iteration of Code Section 1112. Speedy confirmation is certainly still a worthy

 aspiration. However, the Code provides no such requirement, and this provision was

 never intended to serve as “cause” under Subsection 1112(b)(4)(E) for a party in interest

 to assert that a debtor was in violation of an order of this Court. For purposes of this

 case, the debtor is relieved from this particular provision of the Operating Order.

        That being said, the Bankruptcy Administrator has a point. This case has been

 pending for ten months; it’s time to either confirm a plan or to pursue alternative relief.




 	                                               5
Case 16-32006        Doc 188        Filed 10/26/17 Entered 10/26/17 08:05:37        Desc Main
                                      Document Page 6 of 6


 Accordingly, debtor is ordered to file a plan and disclosure statement on or before

 December 31, 2017. The Court will hold a hearing on January 9, 2018, at 10:30 AM at

 the Charles R. Jonas Federal Courthouse in Charlotte, North Carolina, for a status report

 and, if necessary, to revisit the issues raised by the Bankruptcy Administrator’s motion.


 SO ORDERED.

 This Order has been signed electronically.                  United States Bankruptcy Court
 The judge’s signature and the court’s seal
 appear at the top of the Order.




 	                                              6
